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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN

MILLERCOORS, LLC,

                               Plaintiff,                              OPINION AND ORDER
       v.
                                                                             19-cv-218-wmc
ANHEUSER-BUSCH COMPANIES, LLC,

                               Defendant.


       During Super Bowl LIII, defendant Anheuser-Busch Companies, LLC, launched an

advertising campaign highlighting plaintiff MillerCoors, LLC’s use of corn syrup in brewing

Miller Lite and Coors Light, as compared to Anheuser-Busch’s use of rice in its flagship

light beer, Bud Light. This lawsuit followed, with MillerCoors asserting a claim of false

advertising under the Lanham Act, 15 U.S.C. § 1125(a)(1)(B).

       Before the court is plaintiff’s motion for preliminary injunction. (Dkt. #8.)1 In

keeping with the court’s comments during oral argument on that motion on May 16, 2019,




1
  Also before the court is defendant’s motion to dismiss plaintiff’s complaint (dkt. #47), which
strikes the court as a shot across the bow in response to plaintiff’s motion for preliminary injunction.
For the same reasons the court has granted a preliminary injunction based on the likelihood of
plaintiff succeeding on some aspects of its Lanham Act false advertising claims, the court will deny
that portion of the motion. As for defendant’s argument to dismiss plaintiff’s trademark dilution
claim under 15 U.S.C. § 1125(c), defendant primarily relies on the doctrine of fair use,
§ 1125(c)(3)(A), for which it bears the burden of proof. See Rosetta Stone Ltd. v. Google, Inc., 676
F.3d 144, 168-69 (4th Cir. 2012) (“[O]nce the owner of a famous mark establishes a prima facie
case of dilution by blurring or tarnishment, it falls to the defendant to demonstrate that its use
constituted a ‘fair use ... other than as a designation of source for the [defendant’s] own goods or
services,’ 15 U.S.C. § 1125(c)(3)(A).”); see also Eli Lilly & Co. v. Nat. Answers, Inc., 233 F.3d 456,
466 (7th Cir. 2000) (setting forth elements of trademark dilution claim, none of which implicate
negating or disproving fair use). Accordingly, the court agrees with plaintiff that it had no obligation
to anticipate defendant’s reliance on this doctrine in its complaint. Regardless, defendant will have
an opportunity to press this ground at summary judgment, or even to press for dismissal of the
dilution claim sooner under Rules 11 and 12(d) if there truly is no good faith basis to assert that
claim over a fair use defense. Therefore, the court will deny defendant’s motion to dismiss.
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and for the reasons more fully explained below, the court will grant plaintiff a preliminary

injunction, though more narrow in scope than that sought by plaintiff, enjoining

defendant’s use of the following statements: (1) Bud Light contains “100% less corn

syrup”; (2) Bud Light in direct reference to “no corn syrup” without any reference to

“brewed with,” “made with” or “uses”; (3) Miller Lite and/or Coors Light and “corn syrup”

without including any reference to “brewed with,” “made with” or “uses”; and (4)

describing “corn syrup” as an ingredient “in” the finished product. 2



                                    UNDISPUTED FACTS3

    A. Relevant Light Beer Market

       Miller Brewing Company was founded in 1855, and Coors Brewing Company was

founded in 1873. Plaintiff MillerCoors, LLC was formed in 2008 as a U.S. joint venture

between the owners of the Miller Brewing Company and the Coors Brewing Company.

Miller Lite and Coors Light were both introduced to U.S. consumers in the 1970s.

Defendant Anheuser-Busch Companies, LLC is a multinational beverage company that

sells numerous products, including Bud Light beer. Currently, Bud Light has the largest

market share of the U.S. market for light beers, while Miller Lite and Coors Light have the

second and third-highest share of the U.S. market for light beer, respectively.



2
  While these are the express prohibitions, the court is confident that Anheuser-Busch’s counsel
also understands the “spirit” of these prohibitions in light of the exchanges at oral argument.
Accordingly, the court would strongly encourage advance clearance before adopting any phrase or
creative license in an attempt to maneuver around the prohibitions.

3
 Unless otherwise noted, the following facts are undisputed and material for purposes of plaintiff’s
motion for preliminary injunction.


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       MillerCoors market research reveals that the key reasons people buy Miller Lite and

Coors Light are because the beers are (1) authentic, (2) a good value, (3) of high quality,

and (4) refreshing.     Plaintiff represents that its annual investment in advertising and

promoting these two products in the United States has exceeded hundreds of millions of

dollars per year, for the past ten years.4 In a recent comparative advertising campaign,

MillerCoors highlighted the difference in calories and carbohydrates between Miller Lite

and Bud Light as depicted below:




(Harrison Decl., Ex. 20 (dkt. #40-22).)

    B. Beer Brewing Process and Ingredients

       The first step in brewing beer is to create a nutrient substrate, called “wort,” that

yeast needs for fermentation. The sugars in the wort are sourced from malt, or from a

combination of malt and starchy grains like corn or rice. Plaintiff asserts that the sugar

source is selected based on the style and taste characteristics, which defendant does not



4
  While defendant technically disputes these facts for lack of sufficient knowledge or information
about plaintiff’s internal market research and advertising budget, it offers no reason to suspect that
they are incorrect, at least for purposes of the current motion.

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dispute, although pointing out that cost may also be a factor. Defendant further represents

that corn syrup is less expensive than rice.

       In its brewing process for Miller Lite and Coors Light beers, plaintiff contends that

it uses “corn syrup, rather than another source of sugar, to aid fermentation because it does

not mask or change the barley and hops flavors and aromas distinctive to Miller Lite and

Coors Light beers.” (Pl.’s PFOFs (dkt. #10) ¶ 14.) Defendant contends that plaintiff has

also “publicly, attributed the taste of its beers, in part, to corn syrup, stating that ‘corn

syrup gives beer a milder and lighter-bodied flavor.’” (Def.’s Resp. to Pl.’s PFOFs (dkt.

#30) ¶ 14 (quoting Goeler Decl. (dkt. #31) ¶ 24)).) There is no meaningful difference

between using rice or corn syrup as an ingredient in terms of health or safety of the resulting

beer product.

       The yeast’s natural fermentation process converts the corn syrup sugars into

ethanol, flavors, aromas, carbon dioxide, heat and a next generation of yeast cells, leaving

a small amount of residual sugars. Plaintiff represents -- and defendant disputes only on

the basis that it lacks information and knowledge -- that “[n]o corn syrup appears in the

Coors Light and Miller Lite products at the end of the fermentation.” (Pl.’s PFOFs (dkt.

#10) ¶ 18 (citing White Decl. (dkt. #12) ¶ 5(d)).) Moreover, MillerCoors does not add

corn syrup or any other sweetener (including high-fructose corn syrup) to the finished

Coors Light or Miller Lite products.

       While defendant Anheuser-Busch uses corn syrup as an ingredient in fermentations




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of many of its other products,5 Bud Light uses rice as its sugar source. Presumably, no rice

or any other sweetener appears in Bud Light at the end of the fermentation process either.



    C. Super Bowl Commercials and Subsequent Advertisements

       On February 3, 2019, during the television broadcast of Super Bowl LIII, Anheuser-

Busch launched a nationwide advertising campaigning featuring claims that Miller Lite and

Coors Light are “made with” or “brewed with” corn syrup. A 60-second commercial, titled

“Special Delivery,” first ran during the Super Bowl and has continued to run both in a full-

length version, as well as shorter 15-second and 30-second “cut down” versions. (Reis

Decl., Ex. 4 (dkt. #14-4).)

       While defendant purports to dispute any description or paraphrasing of the “Special

Delivery” advertisement, the commercial contains the following scenes in order:

           •   The Bud Light King, the Bud Light Knight and a wizard discuss how Bud
               Light is brewed, with four barrels behind them labeled, “Water,” “Rice,”
               “Hops,” and “Barley.

           •   One of the Bud Light King’s knights then enters with a large barrel labeled
               “Corn Syrup” and announces, “ My King, this corn syrup was just delivered.”

           •   The Bud Light King responds, “that’s not ours. We don’t brew Bud Light
               with corn syrup.” The knight responds, “Miller Lite uses corn syrup,” to
               which the King respond, “Let us take it to them at once.”

           •   The party then embarks on an arduous journey to deliver the barrel of corn
               syrup to the Miller Lite Castle.

           •   Once the Bud Light party arrives at the Miller Lite Castle, the Bud Light
               King announces, “Oh brewers of Miller Lite, we received your corn syrup by
               mistake.” The Miller Lite King, with a supply of Miller Lite at his side,
               responds, “That’s not our corn syrup. We received our shipment this


5
 For example, Bud Ice, Natural Light, Natural Ice, Busch Light, Rolling Rock, Stella Artois Cidre,
Stella Artois Spritzer and Bon & Viv Sparking White are brewed with corn syrup.

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                  morning . . . . Try the Coors Light Castle. They also use corn syrup.”

              •   The party then embarks on another arduous journey to deliver the barrel to
                  the Coors Light Castle.

              •   Upon arrival, the Bud Light King again announces, “Oh brewers of Coors
                  Light, is this corn syrup yours?” The Coors Light King answers, “Well, well,
                  well. Looks like the corn syrup has come home to be brewed. To be clear,
                  we brew Coors Light with corn syrup.”

              •   The commercial closes with the written statement and voice over, “Bud
                  Light, Brewed with no Corn Syrup.”

(Reis Decl., Ex. 4 (dkt. #14-4); Harrison Decl., Ex. 32 (dkt. #40-32) (transcript).) Since

the Superbowl, the “Special Delivery” commercial in its 30-second and 60-second versions

has aired over 900 times on over 20 channels. (Pl.’s PFOFs (dkt. #10) ¶ 34; Def.’s Resp.

to Pl.’s PFOFs (dkt. #30) ¶ 34.)

          During the Super Bowl, Anheuser-Busch also aired two 15-second commercials,

“Medieval Barbers”6 and “Trojan Horse Occupants.” (Reis Decl., Exs. 5, 6 (dkt. ##14-5,

14-6); Harrison Decl., Exs. 33, 34 (dkt. ##40-33, 40-34) (transcripts).) Collectively, these

commercials, like Special Delivery, also state that Miller Lite and Coors Light are “made

with corn syrup.”        Since the Super Bowl, these ads have aired 257 and 566 times,

respectively.

          This year’s Super Bowl advertising commanded between $5.1 and $5.3 million per

30 seconds of media placement, not including production costs. The “Special Delivery”

ad, in particular, “quickly became one of the night’s most talked about . . . with some

observers hailing it as an advertising touchdown.” (Reis Decl. (dkt. #14) ¶ 24.)




6
    Plaintiff refers to this commercial as “Shop Talk.”

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        Since the Super Bowl, Anheuser-Busch has run other, related commercials as part

of its campaign, including a 15-second “Bud Light Cave Explorers” commercials. (Reis

Decl., Ex. 10 (dkt. #14-10); Harrison Decl., Ex. 35 (dkt. #40-35) (transcript).) Again,

defendant disputes any attempt to paraphrase the commercial, but the commercial

contains the following scenes in order:

           •   Two medieval characters enter a cave bearing torches.

           •   One character reads out-loud what is written on the inside over the cave,
               “Coors Light is made with barley, water, hop extract and corn syrup.”

           •   The other character reads out-loud another writing, “Bud Light is made with
               barley, rice, water, hops and no corn syrup.”

           •   The first character responds, “Good to know.”

           •   The commercial closes with the same written statement as in Special
               Delivery, “Bud Light, Brewed with no Corn Syrup.”

(Id.)

        Anheuser-Busch also ran a 30-second commercial titled “Bud Light Mountain Folk.”

(Reis Decl., Ex. 1 (dkt. #14-11); Harrison Decl., Ex. 35 (dkt. #40-36) (transcript).) While

defendant objects to plaintiff’s attempt to summarize the commercial, there is no dispute

that it contains the following scenes:

           •   Medieval characters yell at each other from mountaintops.

           •   The first character yells, “Coors Light is made with barley, water, hop extract,
               and corn syrup.”

           •   Another character then yells, “Miller Lite is made with barley, water, hops,
               hop extract, and corn syrup.”

           •   A third character, then yells, “Bud Light is made with barley, rice, water, hops
               and no corn syrup.”

           •   After yelling good-byes, the commercial closes with the written statement as

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                 in the other commercials, “Bud Light, Brewed with no Corn Syrup.”

(Id.)

         In addition to these television commercials, Anheuser-Busch has also launched

print-media and billboard campaigns, including three sequential billboards which read:

         1. Bud Light 100% less corn syrup than Coors Light.

         2. and . . . wait for it . . .

         3. 100% less corn syrup than Miller Lite.

(Reis Decl., Ex. 20 (dkt. #14-20).)

         Anheuser-Busch has also used its Twitter account to further this campaign. Three

days after the Super Bowl, Anheuser-Busch’s Twitter account displayed the following

image:




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(Reis Decl., Ex. 2 (dkt. #14-2).) A few weeks later, Anheuser-Busch Natural Light’s

Twitter account contained the following image, displaying a Miller Lite can next to a Karo

corn syrup bottle as if in a family portrait:




(Reis Decl., Ex. 18 (dkt. #14-18).)

          At the end of February, Anheuser-Busch ran two new commercials during the

Oscars’ broadcast. The first commercial ran 15 seconds and is titled, “Thespians.” It

features two female actors exchanging the respective ingredients of Miller Lite and Bud

Light. (Reis Dec., Ex 12 (dkt. #14-12); Harrison Decl., Ex. 37 (dkt. #40-37) (transcript).)

Recognizing the same objection by defendant, the commercial contains the following

scenes:

             •   The first medieval actress enters the stage holding a bottle of Miller Lite and
                 says, “Miller Lite is made with barley, water, hops, hop extract, and corn
                 syrup.”

             •   The second actress enters the stage holding a bottle of Bud Light and says,
                 “Bud Light is made with barley, rice, water, hops, and no corn syrup.”



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          •   The audience applauds and otherwise reacts enthusiastically.

          •   The commercial closes with the same written statement as in the other
              commercials, “Bud Light, Brewed with no Corn Syrup.”

(Id.) The second commercial contains the same two actresses, in a 24-second mock film

preview. (Reis Decl., Ex. 13 (dkt. #14-13).) The advertisement contains no spoken words,

but displays the following frames:




       On March 20, 2019, Anheuser-Busch premiered a new commercial with the Bud

Light King stating:

              Miller, Miller, Miller. I’ve been made aware of your recent
              advertisement. I brought you your shipment of corn syrup,
              and this is how you repay me?

              Look if you’re this set on imitating our kingdom, may I suggest
              also imitating us by putting an ingredients label on your
              packaging. People want to know what ingredients are in their
              beer.

              But what do I know? I’m just the king of a kingdom that
              doesn’t brew beer with corn syrup.

(Reis Decl., Ex. 25 (dkt. #14-25); Harrison Decl., Ex. 38 (dkt. #40-38).) The commercial

ends with the same language and voiceover, “Bud Light, Brewed with no Corn Syrup.”

       In a New York Times article, dated March 21, 2019, Anheuser-Busch’s vice

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president of communications stated, “We stand behind the Bud Light transparency

campaign and have no plans to change the advertising.” (Reis Decl., Ex. 27 (dkt. #14-

27).)



    D. Anheuser-Busch’s Intent in Launching Campaign

         On February 7, 2019, Beer Business Daily reported that according to Andy Goeler,

Anheuser-Busch’s head of marketing for Bud Light, told its distributors that:

               [Anheuser-Busch] did focus-group the heck out of this [Special
               Delivery] ad, and found consumers generally don’t
               differentiate between high fructose corn syrup and corn syrup,
               and that it is a major triggering point in choosing brands to
               purchase, particularly among women.

(Reis Decl., Ex. 21 (dkt. #14-21).)7 In an interview with Food and Wine Magazine, in

response to the question, “What is wrong with corn syrup?,” Goeler responded:

               People started to react to corn syrup, they started to react to
               no preservatives, and they started to react to no artificial
               flavors. There are things that consumers on their own had
               perceptions -- for whatever reason -- that there were ingredients
               they preferred not to consume if they didn’t have to. So it was
               pretty clear to us what to highlight. If you look at our
               packaging, we highlight all three of those. No corn syrup. No
               artificial flavors. No preservatives. It was purely driven by
               consumer desire.

(Reis Decl., Ex. 22 (dkt. #14-22) 3.) The interviewer then noted that Anheuser-Busch had

“decided to focus on corn syrup instead of no preservative or things like that,” and asked

Goeler why he thought “consumers see corn syrup as something they don’t want?” (Id. at




7
   Defendant does not dispute that this accurately quotes the article, but points out that this
quotation is not attributed to Goeler directly; rather, the author of the article represents that this
is what Goeler purportedly told Anheuser-Busch distributors.

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4.) In response, Goeler explained, “I think it’s probably an ingredient some prefer not to

consume is the simple answer. . . . [S]ome consumers -- for their own personal reasons --

have concluded that they prefer not putting something like corn syrup, if they had a choice,

into their body.” (Id.)

       In an interview with the Milwaukee Business Journal, Goeler purportedly indicated

that Anheuser-Busch

              will continue to run content focusing on ingredient
              transparency. We’ll continue to run the current content until
              it starts to reach a certain level of saturation. We think it has
              a ways to go. Once it reaches that, like we do all the time, we’ll
              start putting new pieces of content in. That’s an ongoing piece
              of managing the brand.

(Reis Decl., Ex. 26 (dkt. #14-26) 4.)

       In a trade publication, Anheuser-Busch’s senior director of corporation

communications, Josh Gold, in response to a Coors Light promotion to offer free beer

anytime Bud Light talks about Coors Light on social or broadcast media, responded:

              Free beer is a good thing. So is talking about ingredients inside
              of beer. We continue to remain focused on transparency
              because we know that is what consumers are looking for.
              Knowing what is and isn’t in your beer -- whether you paid for
              it or not -- can only be good for the beer industry overall.

(Reis Decl., Ex. 23 (dkt. #14-23) 5.)



   E. MillerCoors’ Consumer Survey

       In support of its motion for preliminary injunction, MillerCoors retained Dr. Yoram

Wind, a professor at the University of Pennsylvania Wharton School of Business with

expertise in consumer behavior and marketing, to conduct a survey of consumers. Wind


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surveyed 2,034 consumers who were shown either a test or control version of the

“Mountain Folk” commercial described above.             Of the total respondents, 1,016 were

randomly assigned to view the test ad, and 1,018 were randomly assigned to view a control

ad.8

        The control ad was the same commercial as the test ad, but with an added,

prominent disclaimer: “While corn syrup is used during the brewing of Miller Lite and

Coors Light, there is NO corn syrup in the Miller Lite and Coors Light you drink.” (Wind

Rept. (dkt. #15) ¶ 15 (emphasis in original).)9

        According to Wind’s analysis, “61 percent of respondents who saw the test stimulus

believe that corn syrup is in the Miller Lite and/or Coors Light you drink (3 percent who

said ‘In Drink’ plus 58 percent who said ‘Both Brewed with and in Drink’). In contrast,

only 26 percent of respondents who saw the control stimulus (3 percent who said ‘In Drink’

plus 23 percent who said ‘Both Brewed with and in Drink’) have that belief.” (Id. ¶ 81.)

Wind, further opined, that the difference in perception of 35% of consumers “is both

economically and statistically significant.” (Id. ¶ 8(a).) Wind also concluded based on an

analysis of open-ended responses that the phrase “‘made with’ used in the Bud Light

commercial to describe the relationship between Miller Lite and/or Coors Light and corn



8
  In response to plaintiff’s proposed findings of fact as to the survey, defendant offers a number of
criticisms as to the reliability of the survey data, largely based on the report of defendant’s own
expert, Dr. John R. Hauser, which the court addresses in its opinion below.

9
  Defendant points out that Wind’s report also references another disclaimer, which has virtually
the same language as the first, though it is not clear from his report which one was actually used in
the survey. (Wind Rept. (dkt. #15) ¶ 6 (“While Miller Lite and Coors Light are brewed using corn
syrup, there is NO corn syrup in the Miller Lite and Coors Light you drink.”).) The court will
address the significance of this slight discrepancy below.

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syrup is ambiguous.” (Id. ¶ 78.)10

       In support of its motion, plaintiff contends that the advertisements exploit or

further misconceptions about corn syrup and high fructose corn syrup (“HFCS”). The corn

syrup MillerCoors uses in its brewing process is a distinct substance from HFCS. Dr. John

S. White, a biochemist with industry experience in “products of the corn wet milling

industry including starches, maltodextrins and corn syrups,” represents that he “has

worked extensively on the divisive [HFCS] issue for the past 15 years,” and that “there is

a common point of confusion about corn syrup and HFCS, despite the fact that they are

very different products.” (White Decl. (dkt. #12) ¶¶ 3, 5(d).) With respect to the survey,

Wind concluded that “more respondents who saw the test stimulus (24 percent) than who

saw the control stimulus (19 percent) believed that the commercial says, suggests, or

implies that corn syrup and high fructose corn syrup are the same.” (Id. ¶ 86.)



     F. Consumer Communications

       In January 2019, before the launch of the advertising campaign at issue in this

lawsuit, “MillerCoors had received virtually no consumer communications related to corn

syrup.” (Pl.’s PFOFs (dkt. #30) ¶ 92 (citing Wind Rept. (dkt. #15) ¶ 93).) After the

Super Bowl, through March 22, 2019, MillerCoors received 179 communications related




10
  Prior to the Super Bowl commercials, Anheuser-Busch ran a couple of advertisements in January
2019, announcing Bud Light would soon have an ingredients label. (Pl.’s PFOFs (dkt. #10) ¶¶ 26-
27; Reis Decl., Ex. 24 (dkt. #14-24).) Wind opines in his report that “[t]he focus of this pre-corn
syrup campaign on beer ingredients primed the respondents to interpret the phrase ‘Made with
corn syrup’—the theme of the comparative advertising campaign—to denote an ingredient.” (Wind
Rept. (dkt. #15) ¶ 89(d).)

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to corn syrup. (Id. ¶ 93 (citing Wind Rept. (dkt. #15) ¶ 93).) Defendant disputes the

significance of these communications on the basis that “[t]his small number of

communications after the Super Bowl consists of thoughts from a miniscule fraction of the

overall relevant consumers, and Dr. Wind provided no evidence that his dataset of

particular consumers who actively reached out to MillerCoors is representative of all

potential MillerCoors consumers.” (Def.’s Resp. to Pl.’s PFOFs (dkt. #30) ¶ 92 (citing

Hauser Decl. (dkt. #36) ¶¶ 54-56).)        Nevertheless, according to Wind’s analysis,

“[t]wenty-two percent of consumer communications noted that the presence of corn syrup

will have an impact on their likelihood of purchasing Miller Lite and/or Coors Light, with

18 percent likely to end or decrease their purchases of Miller Lite and/or Coors Light and

4 percent noting a likelihood to begin or increase their purchases of Miller Lite and/or

Coors Light.” (Wind Rept. (dkt. #15) ¶ 94.)



   G. Social Media Reaction to Campaign

       Following the Super Bowl, plaintiff has identified the following tweets and posts on

social media focused on the presence of corn syrup in Miller Lite and Coors Light products:




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(Reis Decl., Ex. 16 (dkt. #14-16).)

      A week after the Super Bowl, a Facebook user also posted the following picture of a

grocery store display, showing Miller Lite with packaged ears of corn and bottles of Aunt

Jemima syrup on top the cases of beer:




(Reis Decl., Ex. 15 (dkt. #14-15).)

      As part of his report, Wind also directed a third-party Voluble, to collect posts from

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various social media forums and reviews, including Instagram, Reddit, Twitter and

YouTube. Voluble organized the posts into two categories: (1) Twitter posts in which an

account authored by Anheuser-Busch mentioned corn syrup and subsequent retweets of

those posts; and (2) online conversations mentioning corn syrup in Bud Light, Miller Lite

or Coors Light. As it did with the survey data, defendant challenges the reliability of this

study as well. The court will address those challenges below. The first category generated

3,206,145 “total impressions”; the second category generated 314,587,587 “total

impressions.”   (Wind Rept. (dkt. #15) ¶¶ 108-09, 112.)            Based on this data, Wind

concluded that “[o]f the posts authored by consumers that included a mention of corn

syrup and at least one of the three brands, more than twice as many expressed a negative

sentiment as opposed to a positive one, 22.0% to 9.8%.” (Id. ¶ 117.) Wind also concluded

that “28.6% of consumer posts include information that indicates the author holds the

mistaken belief that corn syrup used in brewing is present in the final product (the beer

itself). Conversely, only 6.9% of posts demonstrate that the author understands that corn

syrup is part of the brewing process only and not present in the beer that would be

consumed.” (Id. ¶ 124.)



                                          OPINION

       To obtain a preliminary injunction, a plaintiff “must establish that it has some

likelihood of success on the merits; that it has no adequate remedy at law; that without

relief it will suffer irreparable harm.” Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind.

State Dep’t of Health, 896 F.3d 809, 816 (7th Cir. 2018). “If the court determines that the

moving party has failed to demonstrate any one of these three threshold requirements, it
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must deny the injunction.” Girl Scouts of Manitou Council, Inc. v. Girl Scouts of U.S. of Am.,

Inc., 549 F.3d 1079, 1086 (7th Cir. 2008). If the plaintiff passes that threshold, however,

“the court must weigh the harm that the plaintiff will suffer absent an injunction against

the harm to the defendant from an injunction, and consider whether an injunction is in

the public interest.” Planned Parenthood, 896 F.3d at 816. The Seventh Circuit instructs

courts to “employ[] a sliding scale approach” for this balancing: “The more likely the

plaintiff is to win, the less heavily need the balance of harms weigh in his favor; the less

likely he is to win, the more need it weigh in his favor.” Id. at 816 (quoting Valencia v. City

of Springfield, 883 F.3d 959, 966 (7th Cir. 2018)).



I. Likelihood of Success on the Merits

       “To prevail on a deceptive-advertising claim under the Lanham Act, a plaintiff must

establish that (1) the defendant made a material false statement of fact in a commercial

advertisement; (2) the false statement actually deceived or had the tendency to deceive a

substantial segment of its audience; and (3) the plaintiff has been or is likely to be injured

as a result of the false statement.” Eli Lilly & Co. v. Arla Foods, Inc., 893 F.3d 375, 381–82

(7th Cir. 2018) (citing Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 819 (7th Cir.

1999)). The Seventh Circuit recognizes two types of “false statements”: (1) “those that

are literally false” and (2) “those that are literally true but misleading.” Id. at 382 (citing

Hot Wax, 191 F.3d at 820).11


11
   Other circuit courts have also recognized a “false by necessary implication” or “misleading per
se” category of statements, but the Seventh Circuit has not expressly adopted this doctrine. See Eli
Lilly, 893 F.3d at 383 n.3. Regardless, the court is hard pressed to articulate a material difference
between these characterizations than the literally false and true but misleading categories adopted

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        The required proof varies based on which type of statement is at issue. A literally

false statement is “an explicit representation of fact that on its face conflicts with reality.”

Eli Lilly, 893 F.3d at 382 (citing BASF Corp. v. Old World Trading Co., 41 F.3d 1081, 1091

(7th Cir. 1994)). The type of statements that fall into this category are “bald-faced,

egregious, undeniable, [and] over the top.” Schering-Plough Healthcare Prods., Inc. v. Schwarz

Pharma, Inc., 586 F.3d 500, 513 (7th Cir. 2009). As such, “[a] literally false statement will

necessarily deceive consumers, so extrinsic evidence of actual consumer confusion is not

required.” Eli Lilly, 893 F.3d at 382.

        For statements that are literally true but misleading, “the plaintiff ordinarily must

produce evidence of actual consumer confusion in order to carry its burden to show that

the challenged statement has ‘the tendency to deceive a substantial segment of its

audience.’” Id. at 382 (quoting Hot Wax, 191 F.3d at 819–20). At the preliminary

injunction stage, however, a consumer survey or other “hard evidence of actual consumer

confusion” is not required. Id. Instead, the Seventh Circuit instructs that district courts

should analyze “the ads themselves, the regulatory guidance, and the evidence of decreased

demand.” Id.

        In its brief, plaintiff argues that it may also demonstrate that an ad has the tendency

to deceive a substantial segment by showing that the “defendant has intentionally set out

to deceive the public, and the defendant’s deliberate conduct in this regard is of an

egregious nature.” Johnson & Johnson * Merck Consumer Pharm. Co. v. Smithkline Beecham




in this circuit, particularly in the context of this case.


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Corp., 960 F.2d 294, 298–99 (2d Cir. 1992) (“J&J * Merck”) (internal citations and

quotation marks omitted). Such evidence gives rise to a presumption “that consumers are,

in fact, being deceived,” and then “the burden shifts to the defendant to demonstrate the

absence of consumer confusion.” Id. (internal citation and quotations marks omitted).

       In its response brief, defendant points out that the Seventh Circuit has not adopted

this rebuttable presumption of confusion based on demonstrating an intent to deceive.

(Def.’s Opp’n (dkt. #39) 27.) However, the presumption has been adopted by at least the

First, Second, Third, Eighth and Ninth Circuits. See generally 5 J. Thomas McCarthy,

McCarthy on Trademarks & Unfair Competition § 27:58 (5th ed. 2019) (citing Cashmere &

Camel Hair Mgrs. Inst. v. Saks Fifth Ave., 284 F.3d 302, 316 (1st Cir. 2002) (“It is well

established that if there is proof that a defendant intentionally set out to deceive or mislead

consumers, a presumption arises that customers in fact have been deceived.”); J&J * Merck,

960 F.2d at 298; Johnson & Johnson-Merck Consumer Pharm. Co. v. Rhone-Poulenc Rorer Pharm,

Inc., 19 F.3d 125, 132 (3d Cir. 1995) (adopting presumption, but also requiring showing

of “clear and egregious conduct” in addition to intent); Porous Media Corp. v. Pall Corp.,

110 F.3d 1329, 1336 (8th Cir. 1997) (“A predicate finding of intentional deception, as a

major part of the defendant’s marketing efforts, contained in comparative advertising,

encompasses sufficient harm to justify a rebuttable presumption of causation and injury in

fact.”); William H. Morris Co. v. Grp. W, Inc., 66 F.3d 255, 258 (9th Cir.), supplemented sub

nom. William H. Morris Co. v. Grp. W. Inc., 67 F.3d 310 (9th Cir. 1995) (“If Omicron

intentionally misled consumers, we would presume consumers were in fact deceived and




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Omicron would have the burden of demonstrating otherwise.”)).12



     A. Misleading Statements

       Recognizing that the alleged misleading statement must be considered in context of

the full advertisement, Hot Wax, 191 F.3d at 820, plaintiff nonetheless focuses its

argument around four misleading statements: (1) “made with,” “brewed with” or “uses”

corn syrup; (2) Bud Light has “100% less corn syrup than Miller Lite or Coors Light” or

that it has “no corn syrup”; (3) referring to corn syrup as an “ingredient”; and (4) corn

syrup is used to “save money” or is “less expensive.”


       1. “made with,” “brewed with” or “uses”

       There is no dispute that the statements that Miller Lite and Coors Light “use” or

are “made with” or “brewed with” corn syrup are literally true. Instead, plaintiff argues

that “when viewed as a whole, [the advertisements] deceive[] consumers into believing that

Miller Lite and Coors Light final products actually contain corn syrup and thus are

unhealthy and inferior to Bud Light.”         (Pl.’s Opening Br. (dkt. #9) 29.)        Plaintiff’s

argument also turns on its representation, grounded in expert opinion, that there is no corn

syrup in either end product. (White Decl. (dkt. #12) ¶ 5(d)).) As mentioned above,

defendant purports to dispute this fact on the basis that it lacks information and

knowledge, but for purposes of the present motion, the court will assume that Miller Lite




12
  The Sixth has adopted a presumption of injury, entitling a plaintiff to monetary damages, if the
defendant acted with an intent to deceive in publishing false statements. See Johnson Balance
Dynamics Corp. v. Schmitt Indus., Inc., 204 F.3d 683, 694 (6th Cir. 2000) (adopting presumption of
injury upon showing of intent to deceive or bad faith).

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and Coors Light contain no corn syrup.13

       For support of its argument that these statements are misleading, plaintiff directs

the court to Abbott Laboratories v. Mead Johnson & Company, 971 F.3d 6 (7th Cir. 1992), in

which the Seventh Circuit reversed the district court’s denial of a preliminary injunction

in a Lanham Act claim involving competing oral electrolyte maintenance solutions (“OES”)

products administered to prevent dehydration in infants suffering from acute diarrhea or

vomiting. In Abbott Laboratories, the defendant introduced a new product “Ricelyte” into

the market to compete with “Pedialyte.” Id. at 9. Pedialyte was a “glucose-based solution,”

whereas Ricelyte was manufactured from “rice syrup solids.” Id. In the advertisements at

issue, defendant emphasized “that Ricelyte’s carbohydrate components (i.e., rice syrup

solids) come from rice, whereas Pedialyte’s carbohydrate component is glucose.” Id. at 10.

       As the district court found, however, the rice syrup solids are “hydrolytically derived

from rice carbohydrates, [but] are not actually ‘rice carbohydrates’ as that term is used in

the scientific and medical communities.”          Id. at 9.   In addition to finding that the

description of Ricelyte as a “rice-based oral electrolyte solution” was literally false, the

Seventh Circuit also concluded that the name Ricelyte

               implies more than the permissible message that Ricelyte is
               produced from rice or contains rice syrup solids derived from rice
               carbohydrates. It also implies that Ricelyte actually contains rice
               and rice carbohydrates—or at least we can say that Abbott has
               established a strong likelihood of so proving at trial.

Id. at 15 (emphasis added).




13
  Indeed, based on the evidence before it, this is not only more likely than not, but the defendant
had every incentive to provide proof to the contrary and has not.

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       Here, plaintiff MillerCoors would grasp onto this distinction between a product

being “derived from” an ingredient as compared to “actually contain[ing]” the ingredient.

In particular, plaintiff argues that defendant’s advertisements blur this line or, at minimum,

this language “do[es] not foreclose the possibility in consumers[’] minds that corn syrup is

added as a finishing ingredient to the beer.” (Pl.’s Opening Br. (dkt. #9) 23.) As defendant

points out, however, there is no affirmative duty to disclose or disclaim if the advertisement

at issue is not false or misleading. (Def.’s Opp’n (dkt. #39) 22-23 (citing cases).)

       More to the point, unlike in Abbott Laboratories, viewing the “made with,” “brewed

with” or “uses” statements in the context of the full commercials here, there are no express

or implicit messages that the corn syrup is actually in the finished product. In finding the

use of the Ricelyte name misleading, the Abbott Laboratories court pointed to “[t]he

product’s label [which] places the name ‘Ricelyte’ directly above the phrase ‘Rice-Based

Oral Electrolyte Maintenance Solution,’” and “references, both verbal and pictorial, to rice

in Mead’s print advertisements and brochures.” Abbott Labs., 971 F.2d at 15. As described

in detail above, the Bud Light commercials containing the “made with” or “brewed with”

language show delivery of a large barrel of corn syrup, but do not show corn syrup being

added to the finished Miller Lite or Coors Light products. Moreover, unlike Ricelyte, Bud

Light is apparently brewed with grains of rice, not some derivative syrup.

       Plaintiff also directs the court to Eli Lilly and Company v. Arla Foods, Inc., 893 F.3d

375 (7th Cir. 2018), in which the Seventh Circuit affirmed the district court’s entry of a

preliminary injunction against a cheese manufacturer’s advertisements implying that milk

from recombinant bovine somatropin (“rbST”)-treated cows was unwholesome.                The


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advertisements at issue stated that “Arla cheese contains no ‘weird stuff’ or ‘ingredients

that you can’t pronounce’—in particular, no milk from cows treated with [rbST],” and

depicted rbST as “a cartoon monster with razor sharp horns and electric fur.” Id. at 379.

Critically, at least at the preliminary injunction stage, the defendant cheese producer

conceded that “rbST-derived dairy products are the same quality, nutrition, and safety as

other dairy products.” Id. at 381.

       The Seventh Circuit determined that the explicit statements were accurate: “RbST

is an artificial growth hormone given to some cows, and Arla does not use milk from those

cows.” Id. at 382. The court, however, affirmed the district court’s analysis of the evidence

-- “the ads themselves, the regulatory guidance, and the evidence of decreased demand” --

to conclude that the advertisements were misleading. Specifically, the court explained:

              the ad campaign centers on disparaging dairy products made
              from milk supplied by rbST-treated cows. The ads draw a clear
              contrast between Arla cheese (high quality, nutritious) and
              cheese made from rbST-treated cows (impure, unwholesome).
              The use of monster imagery, “weird stuff” language, and child
              actors combine to colorfully communicate the message that
              responsible consumers should be concerned about rbST-
              derived dairy products.

Id. at 382–83.

       Here, too, the Eli Lilly decision is distinguishable on the basis that the Bud Light

“made with,” “brewed with” or “uses” ads do not disparage corn syrup or otherwise

expressly draw attention to any negative health consequences. (See Def.’s Opp’n (dkt.

#39) 24 (distinguishing Eli Lilly and other comparative ads on the basis that the ads at

issue here are “whimsical, humorous and no message of disgust or danger from drinking

the beers are communicated verbally or in imagery”).) In fairness, plaintiff’s counsel rightly

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points out that this link may have been unnecessary here, since at least some consumers

appear to associate corn syrup, and particularly high fructose corn syrup, with harmful

health consequences, or certainly defendant hoped.

       However, instead of analyzing the commercial or the advertising campaign more

broadly in order to demonstrate that these statements are misleading, plaintiff relies on

open-ended questions in Wind’s consumer survey, in which consumers interpreted “‘made

with’ to mean, for example ‘contains,’ ‘uses,’ ‘has,’ ‘is made with,’ ‘is in,’ or ‘is added.’”

(Pl.’s Opening Br. (dkt. #9) 29 (citing Wind Rept. (dkt. #15) ¶ 78).) As an initial matter,

certain of the respondents’ descriptions -- namely, “uses” and “is made with” -- appear

accurate, and contradict plaintiff’s argument that “made with” or “brewed with” means “is

contained” in the finished product. Indeed, responding that “made with” means “is made

with” does not appear to be an interpretation of the phrase at all.

       Putting aside these concerns about the quality of this proof, relying on survey

evidence to find that an advertisement is “misleading” may well bring statements that

merely are “susceptible to misunderstanding” within the scope of a Lanham Act violation,

which the Seventh Circuit instructed is not appropriate in Mead Johnson & Company v.

Abbott Laboratories (“Mead Johnson I”), 201 F.3d 883 (7th Cir. 2000). In that case, an infant

formula manufacturer brought a Lanham Act action against a competitor, based on the

competitor’s use of the statement “1st Choice of Doctors” in its advertisements. The

district court entered a preliminary injunction, in part, based on its finding that the

statement “implies to consumers that a majority of physicians strongly prefer the product

for strictly professional reasons,” and the market research, while showing a plurality of


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support among physicians, did not show a majority of support. Id. at 884. The Seventh

Circuit rejected this conclusion and reversed the entry of a preliminary injunction,

explaining that “it is all but impossible to call the claim of ‘first choice’ misleading . . .

[u]nless the meaning of language is itself to be determined by survey evidence.” Id. In

other words, the Seventh Circuit rejected an attempt to solely rely on survey evidence to

demonstrate that language is misleading.

       In a subsequent opinion, denying a petition for rehearing, the Seventh Circuit

clarified a portion of its prior opinion and order, explaining:

               Section 43(a)(1) forbids misleading as well as false claims, but
               interpreting “misleading” to include factual propositions that
               are susceptible to misunderstanding would make consumers as
               a whole worse off by suppressing truthful statements that will
               help many of them find superior products. A statement is
               misleading when, although literally true, it implies something
               that is false. Abbott Laboratories v. Mead Johnson & Co., 971 F.2d
               6, 13 (7th Cir.1992). “Misleading” is not a synonym for
               “misunderstood,” and this record does not support a
               conclusion that Abbott’s statements implied falsehoods about
               Similac.

Mead Johnson & Co. v. Abbott Labs. (“Mead Johnson II”), 209 F.3d 1032, 1034 (7th Cir.

2000).14

       The court notes that Mead Johnson is not without its critics, and understandably so:

how does one draw the line between an advertising statement that is susceptible to




14
   In the original opinion, the amended paragraph included a sentence about intent: “A
‘misunderstood’ statement is not the same as one designed to mislead.” Mead Johnson I, 201 F.3d
at 886. Arguably, this statement would support plaintiff’s position that intent to deceive could be
a basis for finding a statement misleading, but this language did not survive the amendment.


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misunderstanding but not misleading?15 The Third Circuit -- the only court to discuss

substantively the Mead Johnson decisions -- described the Seventh Circuit’s essential holding

as follows: “there are circumstances under which the meaning of a factually accurate and

facially ambiguous statement is not open to attack through a consumer survey.” Pernod

Ricard USA, LLC, v. Bacardi, USA, LLC, 653 F.3d 241, 252 (3d Cir. 2011); see also Am.

Italian Pasta Co. v. New World Pasta Co., 371 F.3d 387, 393-94 (8th Cir. 2004) (rejecting

survey evidence to demonstrate that “America’s Favorite Pasta” was misleading, explaining

“[t]o allow a consumer survey to determine a claim’s benchmark would subject any

advertisement or promotional statement to numerous variables, often unpredictable, and

would introduce even more uncertainty into the marketplace. . . . The resulting

unpredictability would chill commercial speech, eliminating useful claims from packaging

and advertisements. . . . [T]he Lanham Act protects against misleading and false statement

of fact, not misunderstood statements.”).

       Moreover, requiring plaintiff to point to some other aspect of the ad besides a

truthful statement is entirely consistent with the approach of the Seventh Circuit and other

courts in the cases cited by plaintiff. In finding a literally true statement misleading, courts

consistently seem to rely on disparaging or derogatory references to the ingredients in the




15
  One scholar has suggested that this holding requires materiality in addition to a misunderstanding
for a claim to be misleading. Rebecca Tushnet, Running the Gamut from A to B: Federal Trademark
and False Advertising Law, 159 U. Pa. L. 1305, 1349 (2011). To illustrate, Tushnet explains, “One
may misunderstand a fact in the abstract: I could be wrong about the size of a computer’s hard
drive. If I am misled, however, I am being led: induced, or at least potentially induced, to change
my position based on my misunderstanding, as when I am more likely to buy a computer because
of my belief about the size of the hard drive.” Id. Even this language, however, suggests that
something more overt is required on the part of the advertiser to find a true statement misleading.

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competitor’s product, e.g., Eli Lilly, 893 F.3d at 379 (depicting rbST as a “cartoon monster

with razor sharp horns and electric fur”); Chobani, LLC v. Dannon Co., Inc., 157 F. Supp.

3d 190, (N.D.N.Y. 2016) (using “negative phrasing,” e.g., “bad stuff,” in reference to

sucralose contained in defendant’s yogurt); Polar Corp. v. Coca-Cola Co., 871 F. Supp. 1520,

1521 (D. Mass. 1994) (“This Court finds that, by causing the polar bear to throw the can

of Coke into a trash bin labeled ‘Keep the Arctic Pure,’ Polar has implied that Coke is not

pure.”), or references that suggest a quality not present in a product is in fact in the product,

e.g., Abbott Laboratories, 971 F.2d at 10 (placing rice grains prominently on advertisements).

Consistent with these cases, plaintiff MillerCoors must point to something in the

advertisement to allow a reasonable consumer to draw the inference that “brewed with,”

“made with” or “uses” corn syrup means that corn syrup is in the final product.

       When counsel for plaintiff was pressed at the hearing to identify a comparable

characteristic in these advertisements, he appeared to rely on the scale of the campaign

alone -- that is, Anheuser-Busch has produced a lot of advertisements, displayed them

during high profile events, and mentioned “corn syrup” repeatedly. Specifically, plaintiff

relied on the “maxim of relevance,” explaining that under this theory:

              if a speaker says something that is capable of more than one
              meaning and knows that . . . one of those meanings is
              something that’s relevant and meaningful information to the
              listener and that the other meaning is something that is
              irrelevant and not meaningful to the listener, the listener will
              assume that the speaker means the meaningful, relevant
              statement because why would you be telling me something
              that’s not important.




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(Hr’g Tr. (dkt. #56) 12.)16 Intuitively, the argument is appealing: why are these ads

repeating “made with” or “brewed with” corn syrup if it does not mean that the corn syrup

works its way into the final product?17 Still, plaintiff fails to direct the court to any case,

and this court could not find any, relying on the pervasiveness or scale of an advertising

campaign to find a neutral, truthful statement misleading within the meaning of the

Lanham Act.

       Perhaps, as discussed below, the context of these television commercials should be

judged by statements displayed in print advertisements and other commercials that cross

the line from “susceptible to misunderstanding” to outright misleading. In other words,

consumers could reasonably interpret “made with” and “brewed with” to mean corn syrup

is in the final product because of defendant’s other ads describing Bud Light as having

100% less corn syrup, or describing Miller Lite as “corn syrup” and Bud Light as “no corn

syrup” without reference to the brewing process. Still, this theory may prove too much of

a stretch given the relative exposure of the Special Delivery and other commercials only

using the “made with,” “brewed with,” or “uses” language as compared with the billboard

advertisements and other, apparently less pervasive commercials that use more troubling



16
  The maxim of relevance (originally called the “maxim of relation”) is one of philosopher Paul
Grice’s four conversational maxims, which jointly constitute the cooperative principle. See H.P.
Grice, Logic and Conversation, in 3 Syntax and Semantics: Speech Acts, 47 (P. Cole and J.L. Morgan,
eds. 1975).

17
  At the hearing, defendant argued that there are other reasons to highlight rice versus corn syrup
distinction, namely that consumers may align Bud Light with the “farm-to-table” movement or
using a “real ingredient versus a syrup.” (Hr’g Tr. (dkt. #56) 25.) Perhaps, there is something to
this basis for the advertisement, though it seems counter to the weight of the evidence as to
defendant’s intent that associating Miller Lite and Coors Light with corn syrup would motivate
consumer’s health concerns with consuming corn syrup or worse, high fructose corn syrup.

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language.

       Finally, as noted, plaintiff argues that an advertisement may be misleading under

the Lanham Act even if “the ‘context’ comes in the form of preexisting beliefs,” citing

Simeon Management Corporation v. Federal Trade Commission, 579 F.2d 1137, 1146 (9th Cir.

1978). As indicated by its name, however, this case involved an order issued by the FTC

requiring the plaintiff to disclose a lack of FDA approval, not a claim under the Lanham

Act. As defendant points out in its opposition brief, FTC precedent is largely inapplicable

to Lanham Act cases. See, e.g., Sandoz Pharm. v. Richardson-Vicks, 902 F.2d 222, 230 (3d

Cir. 1990) (declining plaintiff’s “invitation to blur the distinctions between the FTC and

a Lanham Act plaintiff”); cf. Kraft, Inc. v. F.T.C., 970 F.2d 311, 319 (7th Cir. 1992)

(rejecting reliance on Lanham Act decisions to challenge FTC order). As the court pressed

during the hearing, there appear to be no Lanham Act cases that allow a plaintiff to rely

solely on defendant’s exploitation of consumer concerns to demonstrate that a truthful

advertisement is misleading, at least where the truthful statement may well be properly

understood, rather than necessarily misleading consumers. Indeed, such an approach

would appear entirely inconsistent with the Seventh Circuit’s guidance in Mead Johnson.18

       For all these reasons, the court concludes that plaintiff has not demonstrated a

likelihood of success in demonstrating that the advertisements solely using the language

“brewed with,” “made with,” or “uses” corn syrup are misleading.



18
   At oral argument, plaintiff’s counsel seemed to suggest that a literally true statement could be
found to be misleading where there is substantial proof that the defendant intended to exploit the
consumer’s susceptibility to misunderstand its meaning, as appears to be the case here. Although
the Seventh Circuit has yet to adopt this view, the argument is addressed in the section on Intent
in Section I.B below.

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       2. Bud Light has “100% less corn syrup than Miller Lite or Coors Light” or
          that it has “no corn syrup”

       Plaintiff also contends that defendant’s statements that Bud Light contains “100%

less corn syrup” than Miller Lite and/or Coors Light and that Bud Light contains “no corn

syrup” are misleading because they “highlight this false dichotomy in a way that suggests

consumers should care about it for important reasons such as health concerns.” (Pl.’s Br.

(dkt. #9) 30.) Unlike the “made with” or “brewed with” statement, these statements,

while also literally true, support a reasonable interpretation that Miller Lite and Coors

Light contain corn syrup. Thus, the court agrees with plaintiff that it has a likelihood of

success in demonstrating that these statements are misleading. The same is also true for

the second Thespians commercial, a mock film preview, which contains the following

frames:




(Reis Decl., Ex. 13 (dkt. #14-13).) These advertisements, unlike the ones described above,

do not contain any reference to Miller Lite and Coors Light being “made with” or “brewed

with” corn syrup; instead, these advertisements -- either in stating what is not in Bud Light

or in stating what is in Miller Lite or Coors Light -- cross the line from simply being

susceptible to misunderstanding to being misleading, or, at minimum, the court finds that

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plaintiff is likely to succeed in making such a showing.19


       3. Ingredient

       Next, plaintiff points to references to “corn syrup” being an “ingredient.” As an

initial point, it is not clear what constitutes an “ingredient” in the context of beer. As the

parties acknowledged during the hearing, there are no labeling requirements with respect

to ingredients for beer. See 27 C.F.R. § 7.22 (requiring name, class, name and address of

permit holder, net contents and alcohol content). Even in the food context, as far as this

court could find, “ingredient” is not defined, but appears to cover items that are used in

the production of a food product, even if not in the end product (e.g., leavening items).

See 21 C.F.R. § 101.4 (setting for designation of ingredients for food labeling). In an

attempt to distance itself from any belief that corn syrup remains in the finished Miller

Lite and Coors Light end products, plaintiff now refers to corn syrup as an “adjunct.” As

defendant repeatedly points out, however, plaintiff at least at times has in the past (and

apparently still does) listed corn syrup as an “ingredient” on its website, without any

reference to it being used solely in the brewing process and not present in the end product.20




19
   Defendant’s counsel suggests that the survey evidence will ultimately show that both statements
will be understood by consumers to refer to how these beers are brewed, rather than their
ingredients in light of the comprehensive campaigns original blanketing television commercials
referring to the brewing process. However, the court is persuaded that a reasonable jury could and
likely would find that these ads encouraged consumers to draw the wrong inference from the original
ads.

20
  Moreover, “adjunct” appears to have a specific meaning within the context of beer brewing, not
applicable to corn syrup. Under 27 C.F.R. § 25.15, “[b]eer must be brewed from malt or from
substitutes from malt, which include “rice, grain of any kind, bran, glucose, sugar and molasses,”
and may also contain “adjuncts in fermenting beer,” including “honey, fruit, fruit juice, fruit
concentrate, herbs, spices, and other food materials.”

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       Putting this dispute aside, the use of “ingredient” must also be considered in

context.   In most of the advertisements, defendant uses the word ingredient or lists

ingredients in conjunction with the “made with” or “brewed with” language. For example,

in the Cave Explorers commercial, one character reads out-loud what is written on the

inside of the cave, “Coors Light is made with barley, water, hop extract and corn syrup,”

followed by another character reading out-loud from a different writing, “Bud Light is made

with barley, rice, water, hops and no corn syrup.” (Reis Decl., Ex. 10 (dkt. #14-10);

Harrison Decl., Ex. 35 (dkt. #40-35) (transcript).) The same is true for the first Thespians

advertisement and the Mountain Folk advertisements. (See Reis Dec., Ex 12 (dkt. #14-

12); Harrison Decl., Ex. 37 (dkt. #40-37) (transcript) (using “made with” to list

ingredients in Bud Light and Miller Lite); Reis Decl., Ex. 1 (dkt. #14-11); Harrison Decl.,

Ex. 35 (dkt. #40-36) (transcript) (using “made with” to list ingredients in Bud Light, Miller

Lite and Coors Light).)

       There is one exception. In the most recent commercial, released March 20, 2019,

the Bud Light King states,

              Miller, Miller, Miller. I’ve been made aware of your recent
              advertisement. I brought you your shipment of corn syrup,
              and this is how you repay me?

              Look if you’re this set on imitating our kingdom, may I suggest
              also imitating us by putting an ingredients label on your
              packaging. People want to know what ingredients are in their beer.

              But what do I know? I’m just the king of a kingdom that
              doesn’t brew beer with corn syrup.

(Reis Decl., Ex. 25 (dkt. #14-25); Harrison Decl., Ex. 38 (dkt. #40-38) (emphasis added).)

For the same reason that the “100% less corn syrup,” “no corn syrup” or “corn syrup”

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language is problematic, the court also concludes that plaintiff is likely to succeed in

demonstrating that this language is misleading because it crosses the line to encourage a

reasonable consumer to believe that corn syrup is actually contained in the final product.


        4. “Save money” / “less expensive”

        Finally, plaintiff points to statements that Miller Lite and Coors Light selected corn

syrup to “save money” or because it is “less expensive.”              Plaintiff contends that these

statements “falsely suggest . . . [t]hat there is something inferior, wrong, or unhealthy about

beer that is not brewed from rice.” (Pl.’s Br. (dkt. #9) 31.) Plaintiff does not challenge

the truthfulness of these statements. Instead, plaintiff appears to contend that

representations about the relative cost of corn syrup is misleading because a consumer

would conclude that it is less healthy. For reasons addressed above, however, this claim is

too much of a stretch to warrant discussion.21



     B. Intent to Deceive

        To date, plaintiff’s strongest evidence is defendant’s own statements indicating that

in launching this campaign, it was both aware of and intended to exploit consumer

concerns about corn syrup (and high fructose corn syrup in particular). As detailed above,

defendant’s head of marketing for Bud Light and senior director of corporation

communications in various publications described the market research defendant engaged

in before launching this campaign. Specifically, defendant found that “consumers generally




21
  To the extent plaintiff’s position is that corn syrup is not less expensive than rice or other malt
substitutes, and therefore these statements are literally false, plaintiff failed to develop this record.

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don’t differentiate between high fructose corn syrup and corn syrup, and that it is a major

triggering point in choosing brands to purchase”; “consumers on their own had perceptions

-- for whatever reason -- that there were ingredients they preferred not to consume if they

didn’t have to” and, therefore, “it was pretty clear to us what to highlight”; and that

consumers “have concluded that they prefer not putting something like corn syrup, if they

had a choice, into their body.” (Reis Decl., Exs. 21, 22, 23, 26 (dkt. ##14-21, 14-22, 14-

23, 14-26).)

       As the court indicated during the hearing, these statements support a finding that

defendant was aware of consumer concerns about and the likelihood of confusion

surrounding corn syrup and HFCS, and that defendant hoped consumers would interpret

advertising statements about “made with corn syrup” or “brewed with corn syrup” as corn

syrup actually being in the finished products.       As acknowledged above, however, the

Seventh Circuit has not yet embraced the doctrine that would create a rebuttable

presumption of consumer confusion or deception based on an intent to deceive, though

perhaps this evidence could serve to color the “made with” and “brewed with” statements

to push them across the line to allow a reasonable finding that they are misleading, and

not simply susceptible to misunderstanding. If either or both parties opt to appeal this

decision to the Seventh Circuit, guidance on the use of intent in determining whether a

statement is actually misleading under the Lanham Act would be of great value.

       Moreover, as discussed above, at least the Second and Third Circuit require a

showing of “egregious conduct” in addition to intent to deceive to give rise to this rebuttable

presumption. While other circuits have not required such a showing, from the court’s


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review, the Second and Third Circuits have developed the law surrounding the role of

intent in the Lanham Act context and plaintiff itself relied on a Second Circuit case to

pursue its intent theory. (Pl.’s Opening Br. (dkt. #9 33-34 (discussing J&J * Merck, 960

F.2d at 297-98).22 Unfortunately, cases discussing the role of intent in false advertising

claims are fairly limited. Indeed, while courts appear willing to find an intent to deceive,

there are no findings, as far as this court could uncover, of cases also finding “egregious”

conduct or a discussion of what that might entail to support the presumption.

       As the Third Circuit explained in discussing competitor advertisements in the

antacid market:

              Both the earlier Mylanta advertising and the Maalox
              advertising have tried to exploit the consumer confusion the
              FDA feared between the results of ANC tests and symptom
              relief. The advertisements tout the ANC strength, promise
              symptom relief, and invite consumers to make the connection.
              Although there is evidence of intent to mislead, it is of a kind regrettably
              pervasive throughout the antacid industry and does not reach the
              egregious proportions that would warrant a presumption shifting the
              burden of proof. Therefore, we need not decide whether to adopt
              the Smithkline Beecham presumption in case of clear and
              egregious conduct. In this case, the district court’s failure to
              consider Johnson–Merck’s evidence as to Rorer’s intent was
              not error.

Johnson & Johnson-Merck Consumer Pharm., 19 F.3d at 132 (emphasis added); see also Am.

Home Prod. Corp. v. Procter & Gamble Co., 871 F. Supp. 739, 763 (D.N.J. 1994) (“Despite

the great weight of the evidence demonstrating an intent to mislead, the court found that



22
   The court readily acknowledges that a more recent Second Circuit case may raise a question as
to whether a showing of “egregious conduct” is required. See Church & Dwight Co. v. SPD Swiss
Precision Diagnostics, GmBH, 843 F.3d 48, 67 (2d Cir. 2016) (affirming entry of permanent
injunction in part because of district court’s finding of intent to deceive without discussion of
whether defendant also engaged in egregious conduct).

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the actions of the defendant were simply not egregious.”).

       Because all advertising seems to be an effort to exploit consumer likes and dislikes,

interests and fears, applying the Lanham Act to neutral, truthful statements intended to

exploit or take advantage of consumer beliefs is problematic, especially in light of the

arguable value of comparative advertisements in promoting intelligent consumer decision-

making.    (See Def.’s Opp’n (dkt. #39) 19-20.) Absent additional guidance from the

Seventh Circuit, the court is unwilling, at this stage in the proceedings, to rely on intent as

the hook to find plaintiff likely to succeed on demonstrating that the “made with,” “brewed

with,” or “uses” corn syrup statements are misleading.23



     C. Evidence of Confusion

       To demonstrate a likelihood of success on its Lanham Act claim, plaintiff must put

forth evidence that a “substantial segment of its audience” was deceived by defendant’s

advertisements. Eli Lilly, 893 F.3d at 381–82. As detailed above, plaintiff offers evidence

of confusion in the form of: (1) a consumer survey conducted by its expert Dr. White; (2)

consumer communications mentioning corn syrup after the launch of the campaign during

the Super Bowl; and (3) reactions on social media.

       Plaintiff principally relies on the surveys finding that “a net (after account for the

control group) of 35% of consumers were misled by the ad into thinking that Miller Lite

and Coors Light contain corn syrup.” (Pl.’s Opening Br. (dkt. #9) 35.) Plaintiff directs




23
  Even if open to consideration, the court can conceive of no basis under current case law to prevent
defendant to exploit the plaintiff’s use of a “cheaper” ingredient in making its beer, even if it has
nothing to do with the “quality” of the finished product.

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the court to cases holding that survey evidence that “at least 15% of consumers have been

misled” constitutes a “substantial percentage” for purposes of satisfying the second element

of a Lanham Act claim. (Id. (citing Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck

Consumer Pharm., Co., 290 F.3d 578, 594 (3d Cir. 2002); Eli Lilly Co. v. Arla Foods, Inc., 17-

cv-703, 2017 WL 4570547, at *9 (E.D. Wis. June 15, 2017), aff’d 893 F.3d 375 (7th Cir.

2018)).)

       In response, defendant, largely through a declaration of its own expert, John R.

Hauser, Sc.D., offers several challenges to the reliability of the survey and this 35% figure.

First, defendant questions why Dr. Wind selected the “Mountain Man” commercial,

instead of the “Special Delivery” commercial, on the basis that the “Special Delivery”

commercial launched the adverting campaign, ran the most times and was seen by the most

people. (Def.’s Opp’n (dkt. #39) 30-31.) In its reply brief, plaintiff points out that the

two ads both “compare the respective beers and highlight corn syrup,” and the “Mountain

Man” ad “is arguably the more neutral of the two.” (Pl.’s Reply (dkt. #48) 5.) The court

agrees with plaintiff that both ads compare Miller Lite and Coors Light with Bud Light,

and defendant has not articulated a basis -- nor could its counsel when pressed during the

hearing -- why using the “Mountain Man” advertisement would undermine the value of

the survey. At minimum, this challenge would go to the weight the court might place on

the survey and not a basis to reject it out of hand.

       Second, Dr. Hauser contends that Dr. Wind asked improper leading questions.

Specifically, he takes issue with QF7a and QF7b. Q7Fa provides:

              Which, if any of the following statements does the TV
              commercial say, suggest or imply? (Select one only):

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                    1. Miller Lite [and/or Coors Light] is/are not made with
                       corn syrup;
                    2. Miller Lite [and/or Coors Light] is/are made with
                       corn syrup;
                    3. Neither;
                    4. Don’t know/Unsure.

(Wind Rept. (dkt. #15) ¶ 62.) If a respondent selected option 2 -- that Miller Lite and/or

Coors Light is/are made with corn syrup -- then the respondents were shown QF7b

(assuming that the question concerned Miller Lite), which provides:

             You said that Miller Lite is made with corn syrup. Being “made
             with” corn syrup may mean a number of different things.
             Which, if any, of the following statements does the TV
             commercial say, suggest, or imply about Miller Lite?
                    1. Corn syrup is used only during the brewing process
                       for Miller Lite, but is not in the Miller Lite you
                       drink.
                    2. Corn syrup is only in the Miller Lite you drink, but
                       is not used during the brewing process for Miller
                       Lite.
                    3. Corn syrup is both used during the brewing process
                       for Miller Lite and is in the Miller Lite you drink.
                    4. None of the statements above.
                    97. Don’t know/Unsure.

(Wind Rept. (dkt. #15) ¶ 63.) Dr. Hauser contends that QF7b improperly instructs

respondents that the term “made with” is ambiguous, which deviates from accepted

practice. (Hauser Decl. (dkt. #36) ¶ 27.) Instead, Hauser maintains that respondents

either should have been asked if they viewed the “made with” statement as ambiguous,

and then only those individuals should have been asked what they believed the statement

meant, or respondents should have been asked an open-ended question as to the meaning




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of the term. (Id.)24 In its reply, plaintiff responds to other challenges in Hauser’s report

(ones not raised in defendant’s opposition brief), but does not respond to this particular

challenge. Regardless, the court concludes that this criticism also goes to the weight, rather

than the admissibility, of this evidence, and that plaintiff has demonstrated at least some

likelihood of persuading a reasonable jury of the risk of confusion.

       Third, Hauser criticizes Wind’s testing of the respondents’ views of the connection

between HCFS and corn syrup.           This criticism focuses in particular on QF8, which

provides:

               Which, if any, of the following statements does the TV
               commercial say, suggest, or imply?
                    1. Corn syrup and high fructose corn syrup are the
                        same.
                    2. Corn syrup and high fructose corn syrup are
                        different from one another.
                    3. Neither of the statements.
                    4. Don’t know/ Unsure.

(Wind Rept. (dkt. #15) ¶ 64.) Hauser contends that this question was improper because

the ads do not mention HFCS, and also points to the results of a prior open-ended question

of the test group, where only 1.4% of the respondents volunteered “high fructose corn

syrup” in their answers. (Hauser Decl. (dkt. #36) ¶ 46.) In response, plaintiff maintains



24
   Defendant also cites to analysis of Dr. Wind’s codebook for open-ended responses conducted by
an attorney for defendant for support of its argument that the leading nature of QF7a and QF7b
distorted the results. (Def.’s Opp’n (dkt. #39) 32-33 (citing Adam J. Simon Decl. (dkt. #35) ¶ 6).)
Specifically, defendant represents that in response to an open-ended question asking respondents
to explain what “brewed with” meant, none indicated that corn syrup was “in” the beer they drink.
From the court’s review, however, it appears that the respondents were asked what “Bud Light,
Brewed with no Corn Syrup” meant and, therefore, the open-ended response that it did not mean
that corn syrup was “in” the end product both makes sense, but also does not undermine the
reliability of QF7b which asked about the meaning of “made with corn syrup” in the context of
Miller Lite and Coors Light.

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that “Dr. Wind did not pose this question to measure confusion caused by the ad, but

rather to measure any pre-existing consumer misunderstanding of the relationship between

corn syrup and HFCS.” (Pl.’s Reply (dkt. #48) 8.)

       Fourth, defendant challenges the use of the disclaimer in the survey as a control.

The thrust of defendant’s criticism, as discussed above in the fact section, is that Dr.

Wind’s report contains two (slightly) different worded disclaimers. As plaintiff explains in

the reply, Wind’s report contained a typo; one of the versions was used in a prior version

of the control ad which was pre-tested, but the control ad used in the formal survey

consistently used the same disclaimer. (Pl.’s Reply (dkt. #48) 5.) Regardless, defendant’s

attempt to tease out any significance in the difference between the two disclaimers -- one

says “While Miller Lite and Coors Light are brewed using corn syrup” with the other

stating, “While corn syrup is used during the brewing of Miller Lite and Coors Lite” -- is

immaterial.

       Perhaps these challenges cast some doubt on survey results showing a difference in

perception between the control and test advertisement of 35% of consumers, but defendant

and its expert fall short of providing a basis to reject the survey results out of hand.

Moreover, as plaintiff points out and as described above, the Seventh Circuit has

repeatedly rejected the notion that survey evidence is required to obtain a preliminary

injunction. See, e.g., Eli Lilly, 893 F.3d at 382.

       Plaintiff also relies on consumer communications, and Wind’s analysis of those

communications, finding that 18% indicated that they were “likely to end or decrease their

purchases of Miller Lite and/or Coors Light” because of corn syrup. (Wind Rept. (dkt.


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#15) ¶ 94.) As defendant points out persuasively, this analysis was based on 32 total

communications, out of the approximately 100 million people who watched the Super

Bowl. (Def.’s Opp’n (dkt. #39) 35.) Moreover, defendant points out that of the ten

comments Wind highlights, a number of them accurately described that Miller Lite and

Coors Light use or are brewed with corn syrup, rather than plaintiff’s alleged mistaken

belief that corn syrup is in the final product. Viewed in isolation, the court agrees that

these statements are insufficient to prove that a substantial segment of consumers are likely

to be deceived by the advertisements, but it is some anecdotal support for the survey

results.

       Finally, plaintiff relies on the social media reaction to the advertisements, and again

to Wind’s analysis of that data to opine that “28.6% of consumer posts include information

that indicates the author holds the mistaken belief that corn syrup used in brewing is

present in the final product (the beer itself).” (Wind Rept. (dkt. #15) ¶ 124.) In response,

defendant contends that this type of evidence is treated skeptically and that the “study is

not a scientifically accepted method of measuring whether an ad is misleading.” (Def.’s

Opp’n (dkt. #39) 34.) Again, the court agrees that, viewed in isolation, this evidence may

not carry the day in proving a likelihood of success in demonstrating consumer confusion,

but it, too, provides anecdotal evidence to support the survey results.

       In sum, the court finds that plaintiff’s evidence is sufficient to support a finding at

the preliminary injunction stage that it has some likelihood of success in proving

defendant’s advertisements deceived or have the tendency to deceive a substantial segment

of consumers to believe that Miller Lite and Coors Light actually contain corn syrup. Of


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course, for the reasons explained above, these results are only relevant to those ads that

the court concluded cross the line between susceptible to misunderstanding and misleading

because of the language used and the context surrounding that language.



II. Irreparable Injury

       As indicated above, to succeed on a Lanham Act claim, plaintiff must also

demonstrate that it “has been or is likely to be injured as a result of the false statement.”

Eli Lilly, 893 F.3d at 382. The injury requirement can be satisfied by showing an injury to

“sales or business reputation.”    Id. at 383 (emphasis added).        Moreover, to obtain a

preliminary injunction, plaintiff must show “that it has no adequate remedy at law” and

“that without [injunctive] relief it will suffer irreparable harm.” Planned Parenthood of Ind.,

896 F.3d at 816 (citation omitted).

       “[I]t is well settled that injuries arising from Lanham Act violations are presumed

to be irreparable, even if the plaintiff fails to demonstrate a business loss.” Promatek Indus.,

Ltd. v. Equitrac Corp., 300 F.3d 808, 813 (7th Cir. 2002). Likewise, the difficulty in

assessing the damages associated with a loss of goodwill supports finding that the plaintiff

lacked an adequate remedy at law. Id.; see also Ty, Inc. v. Jones Grp., Inc., 237 F.3d 891, 902

(7th Cir. 2001) (noting that “it is virtually impossible to ascertain the precise economic

consequences of intangible harms, such as damage to reputation and loss of goodwill,

caused by [trademark] violations”) (internal citation omitted); Meridian Mut. Ins. Co. v.

Meridian Ins. Grp., Inc., 128 F.3d 1111, 1120 (7th Cir. 1997) (noting that injury to goodwill

“can constitute irreparable harm for which a plaintiff has no adequate remedy at law”); see

generally McCarthy, supra, § 27.37 (“Where the challenged advertising makes a misleading
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comparison to a competitor’s product irreparable harm is presumed.”).25

       In its brief and at oral argument, defendant relies on two district court cases that

declined to enter an injunction because the plaintiff had failed to prove a likelihood of

irreparable harm in light of market evidence showing that the plaintiff’s sales were not

harmed by the challenged advertisements. See Danone, US, LLC v. Chobani, LLC, 362 F.

Supp. 3d 109, 124 (S.D.N.Y. 2019) (relying on evidence that “Danimals’ share of the

overall yogurt market improved, and that Danimals itself had its second-best ever market

share in its product class, during the month when [defendant’s competing product] came

to market” to deny preliminary injunction); Borden, Inc. v. Kraft, Inc., No. 84 C 5295, 1984

WL 1458, at *17 (N.D. Ill. Sept. 28, 1984) (denying preliminary injunction in part because

“[s]ince the Kraft commercials started being aired in January, Borden’s market share has

actually increased due to a substantial sales increase”).

       In both cases, however, the court also found plaintiff’s evidence of reputational

harm was lacking. See Danone, 362 F. Supp. 3d at 124-25 (finding no harm to “brand

equity;” rejecting “conclusory testimony” about its “reputation as a purveyor of a healthy

and nutritious children’s snacks”); Borden, 1984 WL 1458, at *17 (Plaintiff “merely makes

a broad, vague claim of irreparable injury caused by a false impression created in the mind




25
   In its briefing and at oral argument, defendant urged the court not to apply the presumption in
light of the Supreme Court’s holding in eBay Inc v. MercExchange, L.L.C., 547 U.S. 388, 391-92
(2006), concluding that in a patent case, the movant must supply evidence as to each element,
including harm, to obtain injunctive relief. While the Third Circuit has extended this holding to
Lanham Act false advertisement claims, see Ferring Pharms., Inc. v. Watson Pharms., Inc., 765 F.3d
205, 219 (3d Cir. 2014), the Seventh Circuit has not. Regardless, the court finds plaintiff has put
forth sufficient evidence to demonstrate irreparable injury, even without the presumption as
discussed above.

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of the consumers.”). Here, however, the court has already found that plaintiff has put

forth sufficient evidence in the form of a survey, and anecdotal social media and consumer

comments, to support a finding that the reputation of its light beers has been injured by

the challenged, misleading advertisements, or at least to rebut defendant’s sales evidence

to the contrary.26

       There is one important caveat or clarification as to this finding, which is material to

how the court has crafted the injunction below. In discussing the plaintiff’s evidence of

reputational injury in Danone, the court observed:

               Dannon offers not a shred of evidence tending to suggest that
               its reputation would be harmed if Chobani were allowed to
               advertise that it had 33% less sugar (as opposed to some
               slightly lower number that might be more accurate), but would
               not be harmed if mom just looked at the label and saw that
               Danimals had 9 grams of sugar (which is what ever flavor now
               has) while Gimmies had 7 or 8. This Court cannot infer
               reputational injury to the producer of a higher-sugar product
               on the record before it.

Danone, 362 F. Supp. 2d at 124-25. In other words, a defendant is only on the hook under

the Lanham Act for any reputational harm caused by the alleged misleading statements,

and critically any claim of injury cannot be based on truthful statements not susceptible to

a claim under the Lanham Act.

       Here, if plaintiff’s reputation was injured solely, or even principally, by consumer

awareness that its products are brewed with or made with corn syrup, this may not serve



26
  As pointed out at oral argument, defendant’s evidence is hardly conclusive on this point. Indeed,
there is no evidence that plaintiff’s sales or market share is growing. Instead, it is stable at best,
while defendant’s sales and market share is growing, albeit apparently at the expense of other, smaller
competitors. This begs the question why plaintiff’s share of these lost sales has not grown, at least
in proportion to its share of the market for light beers.

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as a basis for reputational injury. Instead, in limiting the injunction as described below,

the court’s finding of injury is only tied to those statements on which the court has

concluded plaintiff is likely to succeed.



III. Balance of Harms and Public Interest

       Having found a likelihood of success on the merits as to certain of the alleged

misleading statements and a finding of irreparable harm to plaintiff’s reputation caused by

those same statements, the court further finds that the injunction described below supports

the public’s interest in truthful advertising. Abbott Labs., 971 F.2d at 19 (“[T]he public

interest in truthful advertising . . . lies at the heart of the Lanham Act.”). Moreover, the

court is unpersuaded that any harm to defendant by enjoining it from displaying certain,

limited advertisements and print materials outweighs the harm to plaintiff, particularly

since defendant’s counsel represented it has discontinued most of these ads already (with

one exception addressed below). See Mkt. Track, LLC v. Efficient Collaborative Retail Mktg.,

LLC, No. 14 C 4957, 2015 WL 3637740, at *23 (N.D. Ill. June 11, 2015) (Defendant has

“no right to make false statements in its advertising, and enjoining it from engaging in

unlawful behavior is no hardship at all.”).



IV. Injunction

       Based on the above discussion, the court will grant a limited injunction, enjoining

defendant from using the following language in its commercials, print advertisements and

social media:

          •     Bud Light contains “100% less corn syrup”;


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          •   Bud Light in direct reference to “no corn syrup” without any reference to
              “brewed with,” “made with” or “uses”;

          •   Miller Lite and/or Coors Light and “corn syrup” without including any
              reference to “brewed with,” “made with” or “uses”; and

          •   Describing “corn syrup” as an ingredient “in” the finished product.

       With reference to the above described advertisements, the court specifically intends

to include, without limiting, defendant’s display of the following advertisements:

          •   “100% less corn syrup” billboards (Reis Decl., Ex. 20 (dkt. #14-20));27

          •   Second Thespians commercial (Reis Decl., Ex. 13 (dkt. #14-13)); and

          •   Bud Light King commercial (Reis Decl., Ex. 25 (dkt. #14-25); Harrison
              Decl., Ex. 38 (dkt. #40-38)).

       One final note, at the end of the hearing, plaintiff also urged the court to enjoin

“packaging materials,” including the following depictions and language, which the court

has marked with a red circle:




(Def.’s Hr’g Exs. (dkt. #54-2) 7.) Because this argument was not advanced in plaintiff’s

written preliminary injunction submissions, the court declines at this time to include it


27
  At the hearing, defendant represented that these billboard advertisements had been removed or
were in the process of being removed. (Hr’g Tr. (dkt. #56) 71.)

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within the scope of the injunction, although plaintiff may have until June 3, 2019, to file

a supplementary brief explaining why the injunction should cover these non-comparative

packaging materials, to which defendant may have until June 10, 2019, to respond,

including an estimate of the costs of compliance. On or before June 10, 2019, defendant

should also file any support for issuance of a bond. Plaintiff may have until June 17, 2019,

to respond.



                                          ORDER

       IT IS ORDERED that:

       1) Plaintiff MillerCoors, LLC’s motion for preliminary injunction (dkt. #8) is
          GRANTED IN PART AND DENIED IN PART as follows. Defendant Anheuser
          Busch is PRELIMINARILY ENJOINED from using the following language
          within ten (10) days of this order in its commercials, print advertising and social
          media:

          •   Bud Light contains “100% less corn syrup”;

          •   Bud Light in direct reference to “no corn syrup” without any reference to
              “brewed with,” “made with” or “uses”;

          •   Miller Lite and/or Coors Light and “corn syrup” without including any
              reference to “brewed with,” “made with” or “uses”; and

          •   Describing “corn syrup” as an ingredient “in” the finished product.

       2) Defendant Anheuser-Busch’s motion to dismiss (dkt. #28) is DENIED.

       Entered this 24th day of May, 2019.

                                          BY THE COURT:

                                          /s/
                                          __________________________________
                                          WILLIAM M. CONLEY
                                          District Judge



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